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                               UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION

 Richard Kadrey, Sarah Silverman, Christopher         Case No. 3:23-cv-03417-VC
 Golden, Ta-Nehisi Coates, Junot Díaz, Andrew
 Sean Greer, David Henry Hwang, Matthew Klam,         PLAINTIFFS' ADMINISTRATIVE
 Laura Lippman, Rachel Louise Snyder, Jacqueline      MOTION TO CONSIDER WHETHER
                                                      ANOTHER PARTY'S MATERIAL
 Woodson, and Lysa TerKeurst,                         SHOULD BE SEALED
        Individual and Representative Plaintiffs,
        v.
 Meta Platforms, Inc., a Delaware corporation;
                                     Defendant.




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 PLAINTIFFS' ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL SHOULD
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I. INTRODUCTION

        Pursuant to Civil Local Rules 7-11 and 79-5, Plaintiffs hereby move the Court to consider

whether portions of Plaintiffs’ Motion for Relief From Nondispositive Pretrial Order Of Magistrate

Judge should be filed under seal. Meta contends the portions sought to be filed under seal contain

information protected by attorney-client privilege.

        On August 22, 2024, Magistrate Judge Hixson issued a Discovery Order addressing the

privilege dispute. ECF 114. Plaintiffs file objections to the Discovery Order herewith, and therefore

believe the privilege dispute is still pending. Fed. R. Civ. P. 72(a). Nonetheless, Plaintiffs are filing this

with the disputed material redacted under seal. Accompanying this Motion is the Declaration of Aaron

Cera in Support of Plaintiffs’ Administrative Motion to File Under Seal a Motion for Relief From

Nondispositive Pretrial Order.

II. ARGUMENT

        In the Ninth Circuit, when a party seeks to seal portions of a nondispositive motion, a “good

cause” standard is applied. Foltz v. State Farm Mut. Auto. Ins. Co., 331 F.3d 1122, 1135 (9th Cir.

2003). Good cause exists if a district court grants a protective order to seal documents because “it

already has determined that good cause exists to protect this information from being disclosed to the

public by balancing the needs for discovery against the need for confidentiality. Kamakana v. City &

Cnty. of Honolulu, 447 F.3d at 1179–80. The party seeking to seal bears the burden of showing

compelling reasons apply. See id. at 1178.

        Here, Meta has asserted privilege over the disputed material, claiming the material is protected

by the attorney-client privilege. Plaintiffs disagree that the information is privileged, and even if it

were, any privilege was waived. On August 22, 2024, Magistrate Judge Hixson issued a Discovery

Order holding the disputed materials are privileged. ECF 114. Plaintiffs seek to maintain the disputed


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portions under seal in redacted form. Plaintiffs therefore submit this motion in accordance with Local

Rule 79-5.

III. CONCLUSION

       Plaintiffs therefore request that the following portions of the Motion be filed under seal.

  Redacted Portion                              Description of Information
 Bottom Pg. 1-Top        Information Meta contends is protected by the attorney-client privilege.
 Pg. 2
 Bottom Pg. 2            Information Meta contends is protected by the attorney-client privilege.
 Bottom Pg. 2            Information Meta contends is protected by the attorney-client privilege.




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Dated: September 5, 2024               By:        /s/ Joseph R. Saveri

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